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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


STEVEN J. ABRAHAM and
H LIMITED PARTNERSHIP,


       Plaintiffs,

vs.                                                                No. 12-CV-00917-JB-CG

WPX ENERGY PRODUCTION, LLC,
f/k/a WILLIAMS PRODUCTION COMPANY, LLC,
WILLIAMS FOUR CORNERS, LLC and
WILLIAMS ENERGY RESOURCES, LLC,

       Defendants.


                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs Steven J. Abraham and H Limited

Partnership hereby dismiss this action with prejudice against Defendants WPX Energy

Production, LLC, Williams Four Corners LLC and Williams Energy Resources LLC. All parties

shall bear their own costs and attorneys’ fees.

                                              Respectfully submitted,

                                              GALLEGOS LAW FIRM, P.C.

                                              By J.E. Gallegos
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                                      AGREED TO:

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